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                                          6
                                          7                                            UNITED STATES DISTRICT COURT
                                          8                                                       DISTRICT OF ARIZONA
                                          9 Kathleen Grant,                                                            No. 2:15-cv-02665-ROS
                                         10                                                   Plaintiff,               NOTICE OF SETTLEMENT
201 East Washington Street, Suite 1200




                                         11               vs.
Phoenix, Arizona 85004-2595




                                         12 Life Insurance Company of North
                                            America, a foreign insurer, Banner
                                         13 Health, Inc., Long Term Disability Plan
                                            of Banner Health, Inc., Banner Plan
                                         14 Administration,
                                         15                                              Defendants.
                                         16
                                         17               The parties hereby give notice they have settled Count I of the complaint . The
                                         18 parties expect to submit a stipulation and order of dismissal with prejudice within the
                                         19 next 30 days.
                                         20
                                                          DATED this 24th day of March, 2016.
                                         21
                                                                                                                LEWIS ROCA ROTHGERBER CHRISTIE LLP
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                                         23
                                                                                                                By: /s/ Kristina N. Holmstrom
                                         24                                                                         Kristina N. Holmstrom
                                                                                                                    Kathleen Kahn
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                                                                                                                of North America
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                                          1                              CERTIFICATE OF SERVICE

                                          2         I hereby certify that on March 24, 2016, I electronically transmitted the attached

                                          3 document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
                                          4 Notice of Electronic Filing to the following CM/ECF registrant:
                                          5
                                                                     Lisa J. Counters
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                                          9
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